                 Case 20-10166-JTD             Doc 12       Filed 01/27/20        Page 1 of 20




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:
                                                           Chapter 11
LUCKY’S MARKET PARENT COMPANY,
LLC, et al.,1                                              Case No. 20-10166 (JTD)

                  Debtors.                                 (Joint Administration Pending)


                MOTION OF DEBTORS FOR ENTRY OF INTERIM AND FINAL
               ORDERS (I) AUTHORIZING THE USE OF CASH COLLATERAL,
             (II) GRANTING ADEQUATE PROTECTION, (III) MODIFYING THE
                 AUTOMATIC STAY, (IV) SETTING A FINAL HEARING, AND
                            (V) GRANTING RELATED RELIEF

         The above-captioned debtors and debtors in possession (the “Debtors”) hereby move (the

“Motion”) for entry of an interim order, substantially in the form attached hereto as Exhibit A

(the “Proposed Interim Order”), pursuant to sections 105, 361, 362, 363, 506, 507, and 552(b)

of title 11 of the United States Code (the “Bankruptcy Code”); Rules 2002, 4001, 6004(h), 7062

and 9014 of Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”); and Rules 2002-

1(b), 4001-2, and 9013-1(m) of the Local Rules for the United States Bankruptcy Court for the

District of Delaware (the “Local Rules”), (i) authorizing the Debtors to use the “Cash

Collateral,” as defined in Bankruptcy Code section 363(a), of the Prepetition Secured Lender (as

defined below); (ii) providing adequate protection to the Prepetition Secured Lender on the terms

set forth in the Interim Order; (iii) modifying the automatic stay; and (iv) scheduling a final


1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are Lucky’s Market Parent Company, LLC (2055), Lucky’s Farmers Market Holding Company, LLC
(5480), Lucky’s Market Operating Company, LLC (7064), LFM Stores LLC (3114), Lucky’s Farmers Market, LP
(0828), Lucky’s Farmers Market Resource Center, LLC (7711), Lucky’s Market Holding Company 2, LLC (0607),
Lucky’s Market GP 2, LLC (9335), Lucky’s Market 2, LP (8384), Lucky’s Market of Longmont, LLC (9789),
Lucky’s Farmers Market of Billings, LLC (8088), Lucky’s Farmers Markets of Columbus, LLC (3379), Lucky’s
Farmers Market of Rock Hill, LLC (3386), LFM Jackson, LLC (8300), Lucky’s Farmers Market of Ann Arbor, LLC
(4067), Lucky’s Market of Gainesville, LLC (7877), Lucky’s Market of Bloomington, LLC (3944), Lucky’s Market
of Plantation, LLC (4356), Lucky’s Market of Savannah, GA, LLC (1097), Lucky’s Market of Traverse, City, LLC
(2033), Lucky’s Market of Naples, FL, LLC (8700), and Sinoc, Inc. (0723).


72094271.3
              Case 20-10166-JTD          Doc 12       Filed 01/27/20   Page 2 of 20



hearing on the Motion and approving the form and notice of notice thereof. In support of the

Motion, the Debtors rely upon the Declaration of Andrew T. Pillari, Chief Financial Officer of

Debtors, in Support of Chapter 11 Petitions and First Day Motions (the “First Day

Declaration”) filed contemporaneously herewith. In further support of the Motion, the Debtors,

by and through their undersigned counsel, respectfully represent:

                                 JURISDICTION AND VENUE

         1.    This Court has jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated as of February 29, 2012. This is a core proceeding under 28 U.S.C. §

157(b). Under Local Rule 9013-1(f), the Debtors consent to entry of a final order under Article

III of the United States Constitution. Venue of these cases and the Motion in this district is

proper under 28 U.S.C. §§ 1408 and 1409.

         2.    The statutory predicates for the relief requested herein are Bankruptcy Code

sections 105, 361, 362, 363, 506, 507, and 552(b), Bankruptcy Rules 2002, 4001, 6004(h), 7062

and 9014, and Local Rules 2002-1(b), 4001-2, and 9013-1(m).

                                         BACKGROUND

I.       General Background

         3.    On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition in this Court commencing a case for relief under chapter 11 of the Bankruptcy Code (the

“Chapter 11 Cases”). The factual background regarding the Debtors, including their business

operations, their capital and debt structures, and the events leading to the filing of the Chapter 11

Cases, is set forth in detail in the First Day Declaration and fully incorporated herein by

reference.



                                                  2
72094271.3
               Case 20-10166-JTD           Doc 12       Filed 01/27/20   Page 3 of 20



         4.    The Debtors continue to manage and operate their business as debtors in

possession pursuant to Bankruptcy Code sections 1107 and 1108. No trustee or examiner has

been requested in the Chapter 11 Cases and no committees have yet been appointed.

II.      Prepetition Debt Structure

         5.     On or about September 15, 2016, Lucky’s Market Parent Company, LLC

(“LMPC”) and The Kroger Co., as lender (the “Prepetition Secured Lender”), entered into that

certain Promissory Note (as amended prior to the date hereof, the “A Note”), pursuant to which

the Prepetition Secured Lender agreed to lend LMPC up to $23,328,810 (the “A Prepetition

Secured Loan”).

         6.    On or about August 9, 2017, the Prepetition Secured Lender, entered into that

certain Secured Loan Agreement (the “B Prepetition Loan Agreement”), pursuant to which the

Prepetition Secured Lender agreed to lend LMPC up to $25,177,640 (the “B Prepetition

Secured Loan”).

         7.    The B Prepetition Secured Loan is evidenced by that certain Promissory Note

dated August 9, 2017 made by LMPC in favor of the Prepetition Secured Lender (as amended

prior to the date hereof, the “B Note”).

         8.    To secure the obligations under the A Note and B Prepetition Loan Agreement,

LMPC and the Prepetition Secured Lender entered into that certain Security Agreement dated as

of August 9, 2017 (the “AB Security Agreement”). Pursuant to the AB Security Agreement,

LMPC assigned and granted to the Prepetition Secured Lender, a continuing lien on and security

interest in substantially all of LMPC’s personal property with respect to certain identified store

locations (the “AB Security Agreement Collateral”).

         9.    The obligations of LMPC under the A Note and B Prepetition Loan Agreement

are guaranteed by Debtor Lucky’s Market Operating Company, LLC (“LMOC” and together

                                                    3
72094271.3
                Case 20-10166-JTD            Doc 12        Filed 01/27/20      Page 4 of 20



with LMPC, the “Prepetition Secured Credit Parties”) pursuant to that certain Guaranty dated

as of August 9, 2017 between LMOC and the Prepetition Secured Lender (the “AB Guaranty”).

To secure the obligations of LMOC under the AB Guaranty, LMOC and the Prepetition Secured

Lender entered into that certain Guaranty Security Agreement dated as of August 9, 2017

between LMOC and the Prepetition Secured Lender (the “AB Guaranty Security Agreement”).

Pursuant to the AB Guaranty Security Agreement, LMOC assigned and granted to the

Prepetition Secured Lender, a continuing lien on and security interest in substantially all of

LMOC’s personal property with respect to certain identified store locations (the “AB Guarantor

Collateral”).

         10.     On or about December 4, 2017, LMPC, as borrower, and the Prepetition Secured

Lender entered into that certain Secured Loan Agreement (as amended, the “C Prepetition Loan

Agreement” and together with the B Prepetition Loan Agreement, the “Prepetition Loan

Agreements”), pursuant to which the Prepetition Secured Lender agreed to make loans to LMPC

(the “C Prepetition Secured Loan” and together with the A Prepetition Secured Loan and the B

Prepetition Secured Loan, the “Prepetition Secured Loan”). The Prepetition Secured Lender

entered into agreements subsequently to, among other things, lend LMPC additional amounts

over time.2

         11.     The C Prepetition Secured Loan is evidenced by that certain Amended and

Restated Promissory Note dated December 31, 2019 made by LMPC in favor of the Prepetition


2
 Loan Modification Agreements were dated February 23, 2018, July 2, 2018, September 21, 2018, November 15,
2018, January 28, 2019, February 6, 2019, February 13, 2019, February 20, 2019, February 27, 2019, March 6,
2019, March 13, 2019, March 20, 2019, March 27, 2019, April 2, 2019, April 10, 2019, April 16, 2019, April 23,
2019, April 30, 2019, May 7, 2019, May 14, 2019, May 21, 2019, May 28, 2019, June 4, 2019, June 11, 2019, June
18, 2019, June 25, 2019, July 2, 2019, July 9, 2019, July 16, 2019, July 23, 2019, July 30, 2019, August 6, 2019,
August 13, 2019, August 20, 2019, August 27, 2019, September 3, 2019, September 10, 2019, September 17, 2019,
September 24, 2019, October 1, 2019, October 8, 2019, October 15, 2019, October 22, 2019, October 30, 2019,
November 5, 2019, November 12, 2019, November 19, 2019, November 26, 2019, December 3, 2019, December
10, 2019, December 17, 2019, December 24, 2019, and December 31, 2019.

                                                       4
72094271.3
               Case 20-10166-JTD     Doc 12       Filed 01/27/20   Page 5 of 20



Secured Lender (as amended by prior to the date hereof, the “C Note” and together with the A

Note and B Note, the “Notes”).

         12.   To secure the obligations under the C Prepetition Loan Agreement, LMPC and

the Prepetition Secured Lender entered into that certain Security Agreement dated as of

December 4, 2017 (the “C Security Agreement” and together with the AB Security Agreement,

the “Security Agreements”). Pursuant to the C Security Agreement, LMPC assigned and

granted to the Prepetition Secured Lender, a continuing lien on and security interest in

substantially all of LMPC’s personal property (the “C Security Agreement Collateral” and

together with the AB Security Agreement Collateral, the “Borrower Collateral”).

         13.   The obligations of LMPC under the C Prepetition Loan Agreement are guaranteed

by LMOC pursuant to that certain Guaranty dated as of December 4, 2017 between LMOC and

the Prepetition Secured Lender (the “C Guaranty” and together with the AB Guaranty, the

“Guaranties”). To secure the obligations of LMOC under the C Guaranty, LMOC and the

Prepetition Secured Lender entered into that certain Guaranty Security Agreement dated as of

December 4, 2017 between LMOC and the Prepetition Secured Lender (the “C Guaranty

Security Agreement”, and together with the AB Guaranty Security Agreement, the “Guaranty

Security Agreements”). Pursuant to the C Guaranty Security Agreement, LMOC assigned and

granted to the Prepetition Secured Lender, a continuing lien on and security interest in

substantially all of LMOC’s personal property (the “C Guarantor Collateral” and together with

the AB Guarantor Collateral and the Borrower Collateral, the “Prepetition Collateral”). The

Guaranty Security Agreements together with the Prepetition Loan Agreements, the Notes, the

Security Agreements, the Guaranties, and all other documents, instruments, related writings,

financing statements, security documents, and guarantees executed in connection therewith, as



                                              5
72094271.3
                Case 20-10166-JTD       Doc 12       Filed 01/27/20   Page 6 of 20



each has been and may in the future be amended, restated, or replaced, the “Prepetition Secured

Loan Documents” and the obligations thereunder, the “Prepetition Secured Loan

Obligations”.

         14.    As of the Petition Date, the Prepetition Secured Credit Parties were indebted and

liable to the Prepetition Secured Lender (a) in the aggregate principal amount of $301,156,450,

plus (b) interest accrued (before and after the Petition Date) and unpaid thereon, fees and

expenses (before and after the Petition Date), reimbursement obligations, increased costs, tax

gross-ups, breakage costs, indemnities, costs, and all other obligations payable under the

Prepetition Secured Loan Documents, including any attorneys’, accountants’, consultants’,

appraisers’ and financial and other advisors’ fees that are chargeable or reimbursable under the

Prepetition Secured Loan Documents (clauses (a) and (b) together, the “Prepetition

Indebtedness”).

III.     The Debtors’ Need for the Use of Cash Collateral

         15.    As described in the First Day Declaration, based on performance of the Debtors’

business, the Debtors’ management determined that it would require approximately $100 million

in incremental funding to continue operations until the Debtors would be cash flow positive.

Management determined that it would be unable to secure new sources of sufficient funding

outside of these chapter 11 cases.

         16.    The Debtors have an immediate and critical need for the use of Cash Collateral.

Access to the use of Cash Collateral will allow the Debtors to retain employees to continue the

liquidation of certain of their Stores and pursue sales processes, which the Debtors believe will

preserve and maximize the value of the estates. The Debtors have determined that absent the use

of Cash Collateral, the Debtors will be unable to continue (i) operations of their businesses, (ii)

the ongoing liquidation of certain of their assets, and (iii) the sales processes during the Chapter

                                                 6
72094271.3
               Case 20-10166-JTD        Doc 12       Filed 01/27/20   Page 7 of 20



11 Cases, which will irreparably harm the Debtors’ estates and creditors. The Debtors’ ongoing

obligations include obligations to pay wages to employees and amounts due and owing to

vendors.

         17.   In exchange for the consensual use of Cash Collateral, the Debtors have agreed,

and the Interim Order provides, adequate protection in the form of, among other things, adequate

protection liens, and superpriority claims to protect the Prepetition Secured Lender against any

diminution in the value of their interests in the Cash Collateral resulting from the use, sale, or

lease of the Cash Collateral, the subordination of the Prepetition Secured Lender’s liens to the

Carve-Out (as defined in the Interim Order), and the imposition of the automatic stay.

         18.   At this time, the Debtors do not contemplate the need for postpetition financing.

Instead, the Debtors intend to operate their businesses solely on the use of the existing Cash

Collateral generated from the liquidation of their stores. Access to existing Cash Collateral on an

interim basis will provide the Debtors with the liquidity necessary to ensure that the Debtors

have sufficient working capital and liquidity to continue operating and continue the liquidation

and sales processes. Without access to Cash Collateral, the Debtors will face irreparable harm.

                                    RELIEF REQUESTED

         19.   The Debtors respectfully request entry of the Interim and Final Orders, pursuant

to Bankruptcy Code sections 105, 361, 362, 363, 506, 507, and 552(b) and Bankruptcy Rules

2002, 4001, 6004(h), 7062 and 9014, (i) authorizing the Debtors to use the Cash Collateral, (ii)

granting the Prepetition Secured Lender adequate protection upon the terms set forth in the

Interim Order and in any final orders, (iii) modifying the automatic stay, and (iv) scheduling a

final hearing on the Motion.




                                                 7
72094271.3
                   Case 20-10166-JTD           Doc 12        Filed 01/27/20        Page 8 of 20



         20.        Pursuant to Bankruptcy Rule 4001 and Local Rule 4001-2, the following are the

principal terms of the Proposed Interim Order:3

Required Disclosure         Summary of Material Term

Parties with an Interest    The Prepetition Secured Lender.
in Cash Collateral

Bankruptcy Rule
4001(b)(1)(B)(i)

Purposes for the Use of     All Cash Collateral and all proceeds of the Prepetition Collateral and the Adequate
Cash Collateral             Protection Collateral, shall only be used for: (i) working capital; (ii) administrative
                            costs and expenses incurred by the Debtors in selling the Debtors’ assets pursuant to
Bankruptcy Rule             section 363 of the Bankruptcy Code; (iii) costs and expenses incurred by the Debtors in
4001(b)(1)(B)(ii)           closing certain of the Debtors’ stores and/or assuming, assuming and assigning, or
                            rejecting leases to which the Debtors are party upon authorization of the Court; and (iv)
                            the satisfaction of the costs and expenses of administering the Cases, including, without
                            limitation, payment of any prepetition obligations that are necessary to preserve the
                            value of the Debtors’ estates to the extent approved by the Court; and for no other
                            purpose, and shall only be used and/or applied in accordance with the terms and
                            conditions of the Interim Order, including, without limitation, the Budget (subject to any
                            Permitted Variance).

Budget                      No later than the Monday following the Petition Date, the Debtors shall deliver to the
                            Prepetition Secured Lender and its counsel, a cash flow forecast of the cash receipts and
Bankruptcy Rule             disbursements of the Debtors on a consolidated basis for the following 13-week period
4001(b)(1)(B)(ii)           (the “Initial Postpetition Budget” and “Proposed Budget”), which shall be in form and
                            substance reasonably satisfactory to the Prepetition Secured Lender. If no objection to
                            the Proposed Budget is received by the Debtors from the Prepetition Secured Lender
                            within three (3) business days of receipt thereof (such period, the “Budget Objection
                            Period”), then upon expiration of the Budget Objection Period, the Proposed Budget
                            shall become the Budget, which will be in effect for two calendar weeks; provided that,
                            in the event the Prepetition Secured Lender objects to the Proposed Budget during the
                            Budget Objection Period, then the Budget in effect immediately prior to the distribution
                            by the Debtors of the Proposed Budget shall continue to be in effect until any such
                            objection is resolved. Following the receipt of the Initial Postpetition Budget, an
                            updated cash flow forecast shall be delivered to the Prepetition Secured Lender on
                            Monday, every two weeks thereafter.

                            No later than the [Thursday] of each calendar week commencing on the first [Thursday]
                            following the first full Week, the Debtors shall deliver to the Prepetition Secured
                            Lender a variance report comparing, on a line item basis, actual results to the Budget for
                            the previous individual Week on a weekly, cumulative, and four-week trailing basis.

                            The Debtors shall test the Budget on the Thursday following the first four (4) full Weeks
                            on a four-week trailing basis (each such four week period, the “Budget Period”) and
                            every other Thursday thereafter; provided, that, under no circumstances shall any
                            Professional (defined below) fees and out-of-pocket expenses be tested as part of the

3
  Capitalized terms used but not otherwise defined in the chart have the meanings ascribed to them in the Interim
Order. This summary and any other description of the Interim Order provided for in this Motion is qualified in its
entirety by the actual terms of the Interim Order. The actual terms of the Interim Order will control in the event of
any inconsistency between this Motion and the Interim Order.

                                                         8
72094271.3
                 Case 20-10166-JTD        Doc 12        Filed 01/27/20        Page 9 of 20



Required Disclosure    Summary of Material Term

                       Budget. So long as no Termination Event (defined below) has occurred, the Debtors
                       shall be authorized to use Cash Collateral in accordance with the Budget and the Interim
                       Order in an amount that would not cause actual disbursements to be more than twenty-
                       percent [(20%)] in excess of the disbursements included in the Budget for any Budget
                       Period (the “Permitted Variance”).

                       In addition, the Debtors shall deliver to the Prepetition Secured Lender any reporting
                       currently required to be delivered pursuant to the Prepetition Secured Loan Documents,
                       as and when due or requested thereunder, including any grace periods.
Duration of Use of               The Debtors’ right to use Cash Collateral shall automatically terminate (the
Cash Collateral /      date of such termination, the “Termination Date”), without further notice or court
Events of Default      proceeding, on the earliest to occur of any of the events set forth below (each such
                       event, a “Termination Event”), in each case unless waived in writing by the Prepetition
Bankruptcy Rule        Secured Lender:
4001(b)(1)(B)(iii)                        (i)      the Interim Order (unless replaced by the Final Order, in
                       which case, the Final Order) ceases to be in full force and effect for any reason;
                                          (ii)     by the date that is seven (7) calendar days after the Petition
                       Date, if the Debtors have not filed a motion seeking to extend the period to assume or
                       reject the Debtors’ unexpired leases of non-residential real property (the “Real Property
                       Leases”) by an additional ninety (90) calendar days (the “Lease Extension Motion”);
                                          (iii)    the Debtors file a motion under section 365 of the
                       Bankruptcy Code to reject any Real Property Lease without the consent of the
                       Prepetition Secured Lender;
                                          (iv)     the date that is thirty (30) calendar days after the Petition
                       Date if (x) the Final Order, in form and substance acceptable to the Prepetition Secured
                       Lender (such order, the “Final Order”), has not been entered by the Court on or prior to
                       such date and (y) the Bankruptcy Court has not entered an order approving the Lease
                       Extension Motion on or prior to such date;
                                          (v)      the Debtors file a plan of reorganization, a plan of
                       liquidation, or a combined plan and disclosure statement (the “Plan”) that is not
                       acceptable to the Prepetition Secured Lender;
                                          (vi)     the Court shall not have entered an order confirming the Plan
                       on or before June 1, 2020;
                                          (vii)    the effective date of the Plan shall not have occurred on or
                       before June 15, 2020;
                                          (viii)   the Debtors file a motion to sell any of their assets pursuant
                       to section 363 of the Bankruptcy Code that is not acceptable to the Prepetition Secured
                       Lender;
                                          (ix)     by the date that is fourteen (14) days days from the Petition
                       Date, if Debtors have not filed one or more motions (each a “Sale Motion”), in form and
                       substance acceptable to the Prepetition Secured Lender, requesting (x) an order or orders
                       from the Bankruptcy Court (each a “Bid Procedures Order”) approving the proposed bid
                       procedures attached to the Sale Motion(s) related to the sale of substantially all of the
                       assets of the Debtors (the “Bid Procedures”), and (y) an order from the Bankruptcy
                       Court (the “Sale Order”) approving the sale of all or substantially all of the Debtors’
                       assets to the highest and best bidder, or bidders, for such assets pursuant to Section 363
                       of the Bankruptcy Code;
                                          (x)      by the date that is thirty-five (35) days from the Petition
                       Date, if the Debtors have not obtained the Bid Procedures Order(s), in form and
                       substance reasonably satisfactory to the Prepetition Secured Lender;
                                          (xi)     by the date that is 55 days from the Petition Date, if the
                       Debtors have not completed an auction for their assets in accordance with the Bid
                       Procedures. The Debtors shall declare a “winning bidder” and a “back-up bidder” for
                       their assets in consultation with the Prepetition Secured Lender. The terms of each

                                                    9
72094271.3
              Case 20-10166-JTD          Doc 12       Filed 01/27/20         Page 10 of 20



Required Disclosure   Summary of Material Term

                      “winning bid” and “back-up” bid shall be acceptable to the Prepetition Secured Lender
                      and shall, among other things, provide for proceeds from the sale(s) in a minimum
                      amount satisfactory to the Prepetition Secured Lender;
                                         (xii)    by the date that is 75 days from the Petition Date, if the
                      Bankruptcy Court has not entered the Sale Order(s) approving the winning bid(s)
                      resulting from the auction;
                                         (xiii)   by the date that is 85 days from the Petition Date, if the
                      Debtors have not consummated the sale(s) of their assets to the winning bidder(s) at the
                      auction;
                                         (xiv)    the failure of the Debtors to comply in any material respect
                      with a provision of the Interim Order or the Final Order (as applicable), including the
                      Budget (subject to any Permitted Variance);
                                         (xv)     the dismissal of any of the Cases, the conversion of any Case
                      to a case under chapter 7 of the Bankruptcy Code, the appointment in any Case of a
                      trustee or examiner under chapter 11 of the Bankruptcy Code, the Court shall abstain
                      from hearing any of the Cases in accordance with Section 305 of the Bankruptcy Code,
                      or any of the Debtors shall file a motion or other pleading, or support any motion or
                      other pleading filed by any other party, seeking any of the foregoing relief;
                                         (xvi)    an order of the Court is entered (or any of the Debtors shall
                      seek an order) reversing, staying, vacating, or otherwise amending, supplementing, or
                      modifying the Interim Order or the Final Order without the prior written consent of the
                      Prepetition Secured Lender;
                                         (xvii) the Debtors shall create, incur, or suffer to exist any
                      postpetition liens or security interests on any Adequate Protection Collateral other than
                      those specified herein;
                                         (xviii) other than with respect to the Carve-Out, the Debtors shall
                      create, incur, or suffer to exist any claim or lien pari passu with or senior to the
                      Adequate Protection Liens or the Adequate Protection Superpriority Claims while any
                      portion of the Prepetition Indebtedness or the Adequate Protection Obligations remain
                      outstanding, or the Court shall grant any application by any party seeking payment of
                      any claim on a superpriority administrative claim basis pari passu with or senior to the
                      Adequate Protection Superpriority Claims, without the written consent of the Prepetition
                      Secured Lender;
                                         (xix)    the Adequate Protection Liens or the Adequate Protection
                      Superpriority Claims shall cease to be valid, perfected, and enforceable in all respects or
                      the filing by any Debtor of any motion, pleading, application, or adversary proceeding
                      challenging the validity, enforceability, perfection, or priority of the Prepetition Liens
                      securing the Prepetition Indebtedness or asserting any other cause of action against
                      and/or with respect to the Prepetition Indebtedness, the Prepetition Secured Lender’s
                      claim in respect of such Prepetition Indebtedness, or the Prepetition Collateral securing
                      such Prepetition Indebtedness (or if the Debtors support any such motion, pleading,
                      application, or adversary proceeding commenced by any third party);
                                         (xx)     the Debtors shall file or the Court shall grant any application,
                      motion or borrowing request seeking to: (i) incur, without the written consent of the
                      Prepetition Secured Lender, any indebtedness from any party secured by a lien on, or,
                      except for the Carve-Out, otherwise having a claim against or recourse to, as the case
                      may be, the Debtors, the Prepetition Collateral or the Adequate Protection Collateral,
                      unless such liens or claims are junior and subordinated in all respects to the Prepetition
                      Liens, the Prepetition Indebtedness, the Adequate Protection Liens, and the Adequate
                      Protection Superpriority Claims; or (ii) use Cash Collateral on a nonconsensual basis;
                                         (xxi)    the entry of an order by the Court or any other court having
                      jurisdiction to do so granting relief from or modifying the automatic stay applicable
                      under Section 362 of the Bankruptcy Code or otherwise allowing a holder or holders of
                      any liens or security interests, to foreclose or otherwise realize upon their liens or

                                                   10
72094271.3
                Case 20-10166-JTD        Doc 12        Filed 01/27/20        Page 11 of 20



Required Disclosure    Summary of Material Term

                       security interests in any Adequate Protection Collateral or Prepetition Collateral;
                                           (xxii) the Debtors’ exclusive right to file and solicit acceptance of a
                       chapter 11 plan terminates; or
                                           (xxiii) any Debtor shall make any material payment (including any
                       Adequate Protection Payment) on or in respect of any prepetition obligations other than,
                       in accordance with the Budget (subject to any Permitted Variance), including pursuant
                       to the Interim Order or any other interim or final order entered with respect to the
                       Debtors’ “first day” motions (it being understood that any such motions and orders must
                       be in form and substance reasonably acceptable to the Prepetition Secured Lender).
Carve-Out              Subject to the terms and conditions contained in Paragraph [8] of the Interim Order, the
                       Prepetition Liens, the Adequate Protection Liens and the Adequate Protection
Bankruptcy Rule        Superpriority Claims, which have the relative lien and payment priorities as set forth
4001(b)(1)(B)(iii)     herein, shall, in any event, in all cases be subject and subordinate to a carve-out (the
                       “Carve-Out”), which shall be comprised of the following: (i) any fees payable to the
                       Clerk of the Court and to the U.S. Trustee pursuant to section 1930(a) of title 28 of the
                       United States Code; (ii) all accrued and unpaid fees and out-of-pocket expenses of each
                       professional retained in the Cases pursuant to Sections 327, 328 or 1103 of the
                       Bankruptcy Code by the Debtors or their estates and any Committee pursuant to an
                       order of the Court (each, a “Professional”), incurred in accordance with the Budget on
                       or prior to the occurrence of a Carve-Out Event (defined below); (iii) after the
                       occurrence of a Carve-Out Event, all accrued and unpaid fees and out-of-pocket
                       expenses incurred by the Professionals in an aggregate amount for all such
                       Professionals, not to exceed $50,000 (the “Post-Carve-Out Notice Cap”), and (iv) any
                       and all reasonable fees and expenses incurred by a trustee under Section 726(b) of the
                       Bankruptcy Code not to exceed $50,000, in each case, to the extent allowed by the
                       Court at any time; provided, that, the Carve-Out shall not include any bonus,
                       transaction, success fees, completion fees, substantial contribution fees, or any other
                       fees of similar import of any of the foregoing for Professionals. Nothing herein shall be
                       construed to impair the right of any party to object to the reasonableness of any fees or
                       out-of-pocket expenses by any such Professionals or any other person or entity. For
                       purposes hereof, a “Carve-Out Event” shall occur upon the delivery of a written notice
                       of the occurrence and continuance of a Termination Event to (a) the Debtors, (b) the
                       Debtors’ counsel, (c) the U.S. Trustee, (d) counsel to the Committee, if any, and (e)
                       counsel to the Prepetition Secured Lender (collectively, the “Carve-Out Notice
                       Parties”), stating that a Termination Event has occurred and that the Debtors’ ability to
                       pay Professionals is now subject to the Carve-Out (a “Termination Notice”). Upon the
                       delivery of a Termination Notice, the Debtors shall provide immediate notice by email
                       to all Professionals informing them that a Carve-Out Event has occurred and that the
                       Debtors’ ability to pay Professionals is subject to the Carve-Out. A waiver of a
                       Termination Event triggering a Carve-Out Event shall constitute the cancellation of such
                       Carve-Out Event allowing the Debtors to pay allowed fees and out-of-pocket expenses
                       of Professionals, as the same may be due and payable, without reducing the Carve-Out.
Adequate Protection
                                As adequate protection for the interests of the Prepetition Secured Lender in
Bankruptcy Rule        the Prepetition Collateral (including Cash Collateral), solely to the extent of, and in an
4001(b)(1)(B)(iv)      aggregate amount equal, in each case, to, the diminution in value of such interests, from
                       and after the Petition Date, resulting from, among other things, the use, sale or lease by
                       the Debtors of the Prepetition Collateral (including the use of Cash Collateral) and the
                       imposition or enforcement of the automatic stay of Section 362(a) of the Bankruptcy
                       Code (collectively, “Diminution in Value”) the Prepetition Secured Lender shall receive
                       the following (collectively, the “Adequate Protection Obligations”):

                               (a) Replacement Liens. The Prepetition Secured Lender is hereby granted,
                       pursuant to Sections 361 and 363(e) of the Bankruptcy Code, replacement security

                                                    11
72094271.3
              Case 20-10166-JTD         Doc 12        Filed 01/27/20        Page 12 of 20



Required Disclosure   Summary of Material Term

                      interests in and liens upon (the “Replacement Liens”) all of the Debtors’ postpetition
                      property which, but for the commencement of the Cases, would constitute Prepetition
                      Collateral (the “Replacement Collateral”); provided that the Replacement Liens shall in
                      each case be subject and subordinate only to (i) the Carve-Out, (ii) any liens that exist
                      on, and are legal, valid, binding, enforceable, perfected, and non-avoidable, as of the
                      Petition Date and are permitted to be senior to the Prepetition Liens (as applicable)
                      pursuant to applicable Prepetition Secured Loan Documents, and (iii) any liens in
                      existence immediately prior to the Petition Date that are legal, valid, enforceable,
                      binding and non-avoidable, and are perfected after the Petition Date as permitted by
                      Section 546(b) of the Bankruptcy Code, and which are permitted to be senior to the
                      Prepetition Liens pursuant to applicable Prepetition Secured Loan Documents, and in
                      each case not including the Prepetition Liens or the Adequate Protection Liens (such
                      liens described in clauses (ii) and (iii), collectively, and not including any Prepetition
                      Liens or Adequate Protection Liens, the “Prepetition Permitted Liens”).

                               (b) Additional Liens. The Prepetition Secured Lender is hereby also granted
                      additional liens on and security interests in (collectively, the “Additional Liens” and,
                      together with the Replacement Liens, the “Adequate Protection Liens”) all tangible and
                      intangible property of the Prepetition Secured Lender other than the property set forth in
                      Paragraph 3(a) above, whether existing on or as of the Petition Date or thereafter
                      acquired, subject only to (i) the Carve-Out, (ii) any legal, valid, binding, enforceable,
                      perfected, and non-avoidable liens in existence on or as of the Petition Date and (iii) any
                      legal, valid, binding, enforceable, and non-avoidable liens that are perfected after the
                      Petition Date as permitted by Section 546(b) of the Bankruptcy Code (collectively, the
                      “Additional Collateral” and, together with the Replacement Collateral, the “Adequate
                      Protection Collateral”), provided that the Additional Liens shall not attach to any
                      avoidance actions or claims under Sections 502(d), 544, 545, 547, 548, 549, 550, or 553
                      of the Bankruptcy Code or any other avoidance actions under the Bankruptcy Code or
                      applicable state law (collectively, the “Avoidance Actions”); and provided further, that,
                      subject to the entry of the Final Order, the Additional Liens shall attach to all proceeds
                      of Avoidance Actions.

                               (c) Adequate Protection Superpriority Claims. The Prepetition Secured
                      Lender is hereby granted, subject only to payment of the Carve-Out, an allowed
                      superpriority administrative expense claim (each an “Adequate Protection Superpriority
                      Claim” and, collectively, the “Adequate Protection Superpriority Claims”) pursuant to
                      Section 507(b) of the Bankruptcy Code against the Debtors in each of the Cases or any
                      Successor Case (as defined below). The Adequate Protection Superpriority Claims shall
                      include all amounts incurred by the Prepetition Secured Lender for reasonable fees and
                      expenses for one primary law firm and one local counsel. Subject only to the Carve-
                      Out, and except as provided below, the Adequate Protection Superpriority Claims shall
                      have priority over any and all administrative expenses, adequate protection claims and
                      other claims against the Debtors, now existing or hereafter arising, of any kind
                      whatsoever, including without limitation, all administrative expenses of the kind
                      specified in Sections 105(a), 326, 328, 330, 331, 503(b), 507(b), 726, and 1114 of the
                      Bankruptcy Code, and over any and all administrative expenses or other claims arising
                      under the Bankruptcy Code. Other than the Carve-Out, no cost or expense of
                      administration of the Cases shall be senior to, or pari passu with, any of the Adequate
                      Protection Superpriority Claims.

                               Subject only to (and only to the extent of) any timely and successful Challenge
                      (defined below), all Adequate Protection Obligations and any other payments made to
                      the Prepetition Secured Lender shall be, as applicable, indefeasible and/or irrevocable
                      when made and free and clear of all liens and claims, including, without limitation, any

                                                   12
72094271.3
               Case 20-10166-JTD          Doc 12       Filed 01/27/20        Page 13 of 20



Required Disclosure     Summary of Material Term

                        claims covered by the Carve-Out.

                        Notwithstanding anything to the contrary herein, with respect to nonresidential real
                        property leases, no Replacement Liens, Additional Liens or other liens or encumbrances
                        shall be granted or extended to such leases under the Interim Order, except as permitted
                        by the applicable lease or pursuant to applicable law, but in any event, any such lien is
                        hereby granted on the economic value of or proceeds of sale or other disposition of, and
                        any other proceeds and products of such leasehold interests in accordance with the terms
                        of the Interim Order. Notwithstanding anything to the contrary herein, the rights of the
                        Prepetition Secured Lender to enter onto the Debtors’ leased premises shall be limited to
                        (a) any such rights agreed in writing by the applicable landlord pursuant to any separate
                        agreement by and between such landlord and the Prepetition Secured Lender, as
                        applicable, (b) the rights the Prepetition Secured Lender has under applicable non-
                        bankruptcy law, if any, and (c) such rights as may be granted by the Court on a separate
                        motion with notice to the applicable landlords of the leased premises appropriate under
                        the circumstances.

         21.    The Interim Order includes certain terms which constitute material provisions

requiring explicit disclosure under the Local Rules. The provisions described in Local Rule

4001-2(a)(i), to the extent applicable, are set forth at the following sections of the Interim Order:

                a.     Local Rule 4001-2(a)(i)(A) – Cross Collateralization. No provision of the
                       Interim Order grants cross-collateralization protection of the type
                       contemplated by the Local Rules.

                b.     Local Rule 4001-2(a)(i)(B) – Validity, Perfection, and Amount of
                       Prepetition Liens. Subject to the entry of the Final Order, the Debtors and
                       Prepetition Secured Lender stipulate to the validity, perfection,
                       unavoidability, and amount of the Prepetition Indebtedness and Prepetition
                       Liens held by the Prepetition Secured Lender. See Interim Order, ¶¶ G(a)-
                       (c).

                c.     Local Rule 4001-2(a)(i)(C) – Section 506(c) Waiver. Subject to the entry
                       of the Final Order, in consideration of its agreement to permit use of Cash
                       Collateral, the Debtors and the Prepetition Secured Lender have agreed to
                       waive the provisions of Bankruptcy Code section 506(c) and any “equities
                       of the case” claims under Bankruptcy Code section 552(b). See Interim
                       Order ¶¶ K, 11, and 12.

                d.     Local Rule 4001-2(a)(i)(D) – Liens on Avoidance Actions. No provision
                       of the Interim Order grants liens on avoidance actions.

                e.     Local Rule 4001-2(a)(i)(E) – Provisions Deeming Prepetition Debt to be
                       Postpetition Debt. The Interim Order contains no provisions that deem
                       prepetition debt to be postpetition debt or that use postpetition loans from


                                                    13
72094271.3
               Case 20-10166-JTD         Doc 12     Filed 01/27/20      Page 14 of 20



                       a prepetition secured creditor to pay part or all of that secured creditor’s
                       prepetition debt.

                f.     Local Rule 4001-2(a)(i)(F) – Disparate Treatment of Professionals
                       Retained by the Committee. The Interim Order contains no provisions that
                       provide for any disparate treatment of professional retained by an official
                       committee of unsecured creditors, if any.

                g.     Local Rule 4001-2(a)(i)(G) – Nonconsensual Priming. The Interim Order
                       does not provide for nonconsensual priming of any existing lien.

                h.     Local Rule 4001-2(a)(i)(H) – Provisions Affecting the Court’s Power to
                       Consider Equities of the Case. Subject to entry of the Final Order, the
                       Debtors have agreed to waive the provisions of Bankruptcy Code section
                       506(c) and any “equities of the case” claims under Bankruptcy Code
                       section 552(b). See Interim Order ¶¶ K, 11, and 12.

                                       BASIS FOR RELIEF

I.       Cash Collateral and Adequate Protection

         22.    Bankruptcy Code section 363(c)(2) provides that a debtor may use cash collateral

as long as (a) each entity that has an interest in such cash collateral consents; or (b) the court,

after notice and a hearing, authorizes such use, sale or lease in accordance with the provisions of

this section. 11 U.S.C. § 363(c)(2). Bankruptcy Code section 363(e) provides that s that “on

request of an entity that has an interest in property . . . proposed to be used, sold or leased, by the

trustee, the court, with or without a hearing, shall prohibit or condition such use, sale, or lease as

is necessary to provide adequate protection of such interest.” 11 U.S.C. § 363(e). See also In re

DeSardi, 350 B.R. 790, 797 (Bankr. S.D. Tex. 2006) (“Adequate protection . . . is grounded in

the belief that secured creditors should not be deprived of the benefit of their bargain”). The

concept of adequate protection is designed to shield a secured creditor from diminution in the

value of its interest in collateral during the period of a debtor’s use. See In re Carbone Cos., 395

B.R. 631, 635 (Bankr. N.D. Ohio 2008) (“The test is whether the secured party’s interest is

protected from diminution or decrease as a result of the proposed use of cash collateral); see also



                                                  14
72094271.3
               Case 20-10166-JTD        Doc 12     Filed 01/27/20     Page 15 of 20



In re Cont’l Airlines, Inc., 154 B.R. 176, 180-81 (Bankr. D. Del. 1993) (holding that adequate

protection for use of collateral under section 363 is limited to use-based decline in value).

         23.    Bankruptcy Code section 362(d)(1) provides for adequate protection in property

due to the imposition of the automatic stay. 11 U.S.C. § 362(d)(1). See In re Cont’l Airlines, 91

F.3d 553, 556 (3d Cir. 1996). Although Bankruptcy Code section 361 provides examples of

forms of adequate protection, such as granting replacement liens and administrative claims,

courts decide what constitutes sufficient adequate protection on a case-by-case basis. Resolution

Trust Corp. v. Swedeland Dev. Grp., Inc. (In re Swedeland Dev. Grp., Inc.), 16 F.3d 552, 564 (3d

Cir. 1994) (“[A] determination of whether there is adequate protection is made on a case by case

basis.”); In re Columbia Gas Sys., Inc., 1992 WL 79323, at *2 (Bankr. D. Del. Feb. 18, 1992); In

re Mosello, 195 B.R. 277, 289 (Bankr. S.D.N.Y. 1996) (“[T]he determination of adequate

protection is a fact-specific inquiry . . . left to the vagaries of each case . . . .”) (citation and

quotation omitted).

         24.    The concept of adequate protection is designed to shield a secured creditor from

diminution in the value of its interest in collateral during the period of a debtor’s use. See In re

Carbone Cos., 395 B.R. 631, 635 (Bankr. N.D. Ohio 2008) (“The test is whether the secured

party’s interest is protected from diminution or decrease as a result of the proposed use of cash

collateral); see also In re Cont’l Airlines, Inc., 154 B.R. 176, 180-81 (Bankr. D. Del. 1993)

(holding that adequate protection for use of collateral under section 363 is limited to use-based

decline in value).

         25.    Here, the Prepetition Secured Lender has consented to the Debtors’ use of Cash

Collateral on the terms set forth in the Interim Order. The proposed adequate protection included




                                                 15
72094271.3
               Case 20-10166-JTD           Doc 12    Filed 01/27/20   Page 16 of 20



in the Interim Order provides adequate protection in the form of, among other things, the

Replacement Liens, the Superpriority Administrative Claim, and reporting requirements

         26.    The Debtors submit that the proposed adequate protection is appropriate and

sufficient to protect the Prepetition Secured Lender from any diminution in value of the

Prepetition Collateral. The Cash Collateral will be used for funding business operations and

allowing the Debtors to transition into the Chapter 11 Cases. Immediate access to this liquidity

will permit the Debtors to fund payroll, pay vendors, and otherwise continue business in the

ordinary course. As detailed in the First Day Declaration, one reason underlying the filing of

these Chapter 11 Cases is to liquidate certain assets and conduct sales processes pursuant to

Bankruptcy Code section 363. If Cash Collateral is not available, the Debtors will dissipate value

to the detriment of all of its stakeholders. Thus, the use of Cash Collateral will protect the

Prepetition Secured Lender’s security interests by preserving the value of the Prepetition

Collateral. See In re Salem Plaza Assocs., 135 B.R. 753, 758 (Bankr. S.D.N.Y. 1992) (holding

that a debtor’s use of cash collateral to pay operating expenses, thereby “preserv[ing] the base

that generates the income stream,” provided adequate protection to the secured creditor). See

also Save Power Ltd. v. Pursuit Athletic Footwear, Inc. (In re Pursuit Athletic Footwear, Inc.),

193 B.R. 713, 716 (Bankr. D. Del. 1996); In re 499 W. Warren St. Assocs., Ltd. P’ship, 142 B.R.

53, 56 (Bankr. N.D.N.Y. 1992).

         27.    In light of the foregoing, the Debtors submit that the proposed adequate protection

to be provided is appropriate and necessary to protect such party against any diminution in value

and is also fair and appropriate on an interim basis under the circumstances of this case and to

ensure that the Debtors are able to continue using Cash Collateral in the near term, for the benefit

of all parties in interest and their estates.



                                                    16
72094271.3
               Case 20-10166-JTD        Doc 12     Filed 01/27/20     Page 17 of 20



         28.    Based on the foregoing, the Debtors respectfully submit that entry of the Interim

Order authorizing the interim use of Cash Collateral and scheduling a Final Hearing to approve

the use of Cash Collateral on a final basis is necessary and appropriate.

II.      Modification of the Automatic Stay is Warranted

         29.    The relief requested by this Motion contemplates a modification of the automatic

stay. 11 U.S.C. § 362. The automatic stay should be modified on a limited basis (to the extent

applicable) as necessary to effectuate all terms and provisions of the Interim Order, including,

without limitation to: (a) permit the Debtors to grant the Adequate Protection Liens and incur the

Adequate Protection Superpriority Claims; (b) permit the Debtors to perform such acts as may be

needed to assure the perfection and priority of the liens granted herein; and (c) permit the

Debtors to incur all liabilities and obligations under the terms of the Interim Order.

         30.    In addition, the Interim Order provides for the termination of the automatic stay to

permit the Prepetition Secured Lender to exercise, upon the occurrence and during the

continuation of a Termination Event, and to take other remedies relating to the Cash Collateral

without further order or application to the Court. The Prepetition Secured Lender is required to

provide five (5) business days’ notice to the Carve-Out Notice Parties.

         31.    Stay modifications of this kind are ordinary and standard terms of postpetition use

by debtors in possession of prepetition collateral, and, in the Debtors’ business judgment, is

reasonable under the present circumstances.

         32.    Accordingly, the Debtors respectfully request that the Court authorize the

modification of the automatic stay in accordance with the terms set forth in the Interim Order.




                                                 17
72094271.3
               Case 20-10166-JTD         Doc 12     Filed 01/27/20      Page 18 of 20



III.     Interim Approval and Scheduling of a Final Hearing

         33.    Interim relief may be granted on a motion to use cash collateral pursuant to

Bankruptcy Code sections 363(c) or 364 where relief “is necessary to avoid immediate and

irreparable harm to the estate pending a final hearing.” Fed. R. Bankr. P. 4001(b)(2), (c)(2).

         34.    The Debtors believe that all or substantially all of their available cash constitutes

Cash Collateral and is therefore unable to proceed to continue its business operations without the

ability to use Cash Collateral and will suffer immediate and irreparable harm to the detriment of

all creditors and other parties in interest. The Debtors’ ability to finance its operations is vital to

the preservation and maintenance of the value of the Debtors’ assets.

         35.    The Debtors will face immediate and irreparable harm without the entry of the

Interim Order. Therefore, the Debtors respectfully request that the Court schedule a final hearing,

no sooner than 14 days after the date of this Motion and no later than 25 days after the Petition

Date, to consider entry of the Final Order.

         36.    Moreover, Bankruptcy Rule 6003 provides that the relief requested in this Motion

may be granted if the “relief is necessary to avoid immediate and irreparable harm.” Fed. R.

Bankr. P. 6003. The Debtors submit that for the reasons already set forth herein, the relief

requested in this Motion is necessary to avoid immediate and irreparable harm to the Debtor.

                             WAIVER OF BANKRUPTCY RULES

         37.    To the extent that any aspect of the relief sought herein constitutes a use of

property under Bankruptcy Code section 363(b), the Debtors seek a waiver of the notice

requirements under Bankruptcy Rule 6004(a) and the 14-day stay under Bankruptcy Rule

6004(h), to the extent applicable. See Fed. R. Bankr. P. 6004(a), (h). As described above, the

relief that the Debtors seeks in this Motion is immediately necessary in order for the Debtors to

be able to continue to operate their businesses and preserve the value of their estates. The

                                                  18
72094271.3
               Case 20-10166-JTD        Doc 12     Filed 01/27/20        Page 19 of 20



Debtors respectfully request that the Court waive the notice requirements imposed by

Bankruptcy Rule 6004(a) and the 14-day stay imposed by Bankruptcy Rule 6004(h), as the

exigent nature of the relief sought herein justifies immediate relief.

                                CONSENT TO JURISDICTION

         38.    Pursuant to Local Rule 9013-1(f), the Debtors consent to the entry of a final

judgment or order with respect to this Motion if it is determined that the Court would lack

Article III jurisdiction to enter such final order or judgment absent consent of the parties.

                                             NOTICE

         39.    Notice of this Motion will be given to: (a) the Office of the United States Trustee

for the District of Delaware; (b) the parties included on the Debtors’ consolidated list of thirty

(30) largest unsecured creditors; (c) counsel to the Prepetition Secured Lender; (d) any party that

has requested notice pursuant to Bankruptcy Rule 2002; and (e) all parties entitled to notice

pursuant to Local Rule 9013-1(m). The Debtors submit that, under the circumstances, no other or

further notice is required.

                                     NO PRIOR REQUEST

         40.    No prior motion for the relief requested herein has been made to this or any other

court.

         WHEREFORE, the Debtors respectfully request that the Court enter an order,

substantially in the form attached hereto as Exhibit A, granting the relief requested in the Motion

and such other and further relief as the Court deems appropriate.




                                                 19
72094271.3
             Case 20-10166-JTD   Doc 12    Filed 01/27/20   Page 20 of 20



Dated: January 27, 2020              Respectfully submitted,
       Wilmington, Delaware
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                                          20
72094271.3
